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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

THEODA MILLS,                                          )
                                                       )
       Plaintiff,                                      )
                                                       )
      vs.                                              )   Case No. 4:17cv0257 PLC
                                                       )
ST. LOUIS COUNTY GOVERNMENT,                           )
et al.,                                                )
                                                       )
       Defendants.                                     )

                                          JUDGMENT

       In accordance with the Order entered July 11, 2017; the Memorandum and Order entered

July 24, 2017; the Memorandum and Order entered October 23, 2017; and the Memorandum and

Order entered herewith:

       IT IS HEREBY ORDERED AND ADJUDGED that Plaintiff’s claims and causes of

action against defendants Sharon Gardner, Donald Edwards, Joyce Theard, and Steve Stenger are

dismissed with prejudice.

       IT IS FURTHER ORDERED AND ADJUDGED that Plaintiff’s MHRA claims

against all defendants are dismissed with prejudice.

       IT IS FINALLY ORDERED AND ADJUDGED defendant St. Louis County shall have

judgment against Plaintiff on Plaintiff’s claim of disability discrimination under the Americans

with Disabilities Act, and this claim is dismissed with prejudice.




                                                       PATRICIA L. COHEN
                                                       UNITED STATES MAGISTRATE JUDGE

Dated this 29th day of June, 2018
